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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )          CASE NO. 2:10-cr-13-MEF
                                            )
SHEENA MARIE GONSALVES                      )

                                      ORDER

       Upon consideration of the government's Motion for Leave to Dismiss Indictment

without Prejudice (Doc. #32) filed on May 24, 2010, it is hereby

       ORDERED that the indictment against Sheena Marie Gonsalves is dismissed without

prejudice..

       DONE this the 27th day of May, 2010.


                                                 /s/ Mark E. Fuller
                                         CHIEF UNITED STATES DISTRICT JUDGE
